 Case 3:18-md-02843-VC Document 1012-9 Filed 08/26/22 Page 1 of 8




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Case 3:18-md-02843-VC Document 1012-9 Filed 08/26/22 Page 2 of 8
Case 3:18-md-02843-VC Document 1012-9 Filed 08/26/22 Page 3 of 8
Case 3:18-md-02843-VC Document 1012-9 Filed 08/26/22 Page 4 of 8
Case 3:18-md-02843-VC Document 1012-9 Filed 08/26/22 Page 5 of 8
Case 3:18-md-02843-VC Document 1012-9 Filed 08/26/22 Page 6 of 8
Case 3:18-md-02843-VC Document 1012-9 Filed 08/26/22 Page 7 of 8
Case 3:18-md-02843-VC Document 1012-9 Filed 08/26/22 Page 8 of 8
